             04-23162-ash             Doc 3     Filed 07/29/04 Entered 07/30/04 02:54:14                              Imaged
                                               Certificate of Service Pg 1 of 4
FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (12/03)                                            Case Number 04−23162−ash
                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF NEW YORK
        Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 7/26/04.

 You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
 All documents filed in the case may be reviewed on the Court's Electronic Case Filing System using a PACER login and password at
 www.nysb.uscourts.gov or at any of the three divisions of the Court during posted business hours. NOTE: The staff of the
 bankruptcy clerk's office cannot give legal advice.
                                    See Reverse Side For Important Explanations.
 Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):
 Carol Jackson
 15 Orchard St.
 Nyack, NY 10960
 Case Number:                                                            Social Security/Taxpayer ID Nos.:
 04−23162−ash                                                            xxx−xx−6568
 Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
 Robert S. Lewis                                                         Jeffrey L. Sapir−7
 Robert S. Lewis, Esq.                                                   As Chapter 7 Trustee
 53 Burd Street                                                          399 Knollwood Road
 Nyack, NY 10960                                                         Suite 102
 Telephone number: (845) 358−7100                                        White Plains, NY 10603
                                                                         Telephone number: (914) 328−7272

                                                       Meeting of Creditors:
 Date: September 13, 2004                                     Time: 09:30 AM
 Location: United States Bankruptcy Court, SDNY, 300 Quarropas Street, Room 243A, White Plains, NY 10601−5008

                                                                Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

 Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain
                                                Debts: 11/12/04

                                                  Deadline to Object to Exemptions:
                                        Thirty (30) days after the conclusion of the meeting of creditors.

                                        Creditors May Not Take Certain Actions:
 The filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property.
 If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized.

              Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
 Address of the Bankruptcy Clerk's Office:                                                        For the Court:
 300 Quarropas Street                                                    Clerk of the Bankruptcy Court:
 White Plains, NY 10601                                                  Kathleen Farrell−Willoughby
 Telephone number: 914−390−4060
 Hours Open: Monday − Friday 9:00 AM − 5:00 PM                           Date: 7/27/04

DO NOT BRING CELLPHONES TO THE COURTHOUSE

DEBTORS: BRING THIS NOTICE TO YOUR FIRST MEETING OF CREDITORS TO BE HELD
PURSUANT TO SECTION 341(a) OF THE BANKRUPTCY CODE, TOGETHER WITH ANY OTHER
DOCUMENTS REQUESTED BY THE TRUSTEE.
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                                                          EXPLANATIONS                                                          FORM B9A (9/97)

Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


Creditors May Not        Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
Take Certain Actions     contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
                         obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                         and garnishing or deducting from the debtor's wages.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4),
                         (6), or (15), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to File a
                         Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts" listed on the
                         front side. The bankruptcy clerk's office must receive the complaint and the required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objection by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed on the Court's electronic Case Filing System using an
Office                   Attorney's login and password issued by the Court or on a diskette in PDF format. If you are unable to file
                         electronically or to submit a copy of your filing on diskette, you may file conventionally provided that you submit
                         with your filing an affidavit of your inability to comply.


Legal Advice             The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice. You may want
                         to consult an attorney to protect your rights.


                         −− Refer to Other Side for Important Deadlines and Notices −−
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                                        Certificate of Service Pg 3 of 4
                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK

                         NOTICE OF ELECTRONIC FILING PROCEDURE

A bankruptcy case has been filed with respect to the debtor listed on the first page of the attached notice which
provides you with basic information about the case. You may also receive in the future additional information about
the case, including information with respect to the filing of proofs of claim by creditors.* If you are a creditor or other
party in interest in this matter and represented by an attorney, please forward this "Notice of Electronic Filing
Procedure" to your attorney. The purpose of this notice is to provide information about this Court's electronic filing
procedures.

This case and any related cases will be docketed exclusively on the Court's Electronic Case Filing System. The
System can be accessed via the Internet using a login and password obtained from the PACER Service Center at
www.pacer.psc.uscourts.gov. To file documents, an attorney login and password obtained from the Court are needed.
In compliance with Federal Rule of Civil Procedure 11 and in accordance with Local Bankruptcy Rule 9011−1, the
attorney's password constitutes the signature of the attorney; therefore, security of a password issued to an attorney is
the responsibility of that attorney. An original, signed version of the filing shall be maintained in the attorney's files.
A chamber's copy of all filed documents is required and all parties with legal representation must file documents in
accordance with the following:

1.          The requirements for filing, viewing and retrieving case documents are: A personal computer running any
            standard Windows platform, an Internet provider, Netscape Navigator and Adobe Exchange software to
            convert documents from a word processor format to a portable document format (PDF). The URL address
            is www.nysb.uscourts.gov and a password is needed to access this system. If you are unable to comply
            with this requirement, then

2.          You must submit your documents on a diskette using PDF format. The Adobe software will provide this
            format. Further instruction may be found in the Adobe manual. Use a separate diskette for each filing.
            Submit the diskette in an envelope with the case name, case number, type and title of document, and the
            file name on the outside of the envelope. If you are unable to comply with this requirement or
            requirement number 1, then

3.          You must submit your documents on a diskette using one of the following formats: Word, WordPerfect,
            or DOS text (ASCII). If you are unable to comply with this requirement or requirements number 1 or 2,
            then

4.          You must submit an affidavit of your inability to file in either of the above formats. You may then file
            conventionally on unstapled, unbound, single−sided paper. Include your affidavit with your filing.

* IF A DEADLINE FOR FILING A PROOF OF CLAIM IS ESTABLISHED, CREDITORS AND PARTIES IN
INTEREST WILL BE NOTIFIED. PROOFS OF CLAIM CANNOT BE FILED ELECTRONICALLY. A HARD
COPY (PREFERABLY ACCOMPANIED BY A DISKETTE) MUST BE FILED WITH THIS COURT.

For technical or procedural assistance please call (212) 668−2870 ext. 3522 or ext. 3920 and to schedule training call
ext. 3580, Monday−Friday, 8:30 a.m. − 5:00 p.m. A tutorial on the Electronic Case Filing System can be found on the
Court's web site, www.nysb.uscourts.gov.

Dated: 7/27/04                                                              Kathleen Farrell−Willoughby
                                                                            Clerk of the Court
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                                                 Certificate of Service Pg 4 of 4
 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0208-7                 User: jmercado                      Page 1 of 1                         Date Rcvd: Jul 27, 2004
 Case: 04-23162                       Form ID: b9a                        Total Served: 20

 The following entities were served by first class mail on Jul 29, 2004.
 db        +Carol Jackson,   15 Orchard St.,    Nyack, NY 10960-2123
 aty       +Robert S. Lewis,    Robert S. Lewis, Esq.,    53 Burd Street,    Nyack, NY 10960-3220
 tr        +Jeffrey L. Sapir-7,    As Chapter 7 Trustee,    399 Knollwood Road,    Suite 102,
               White Plains, NY 10603-1936
 smg        N.Y. State Dept. Of Taxation And Finance,     Bankruptcy/Special Procedures Section,     P.O. Box 5300,
               Albany, NY 12205-0300
 smg       +N.Y. State Unemployment Insurance Fund,     P.O. Box 551,    Albany, NY 12201-0551
 smg       +New York City Department of Finance,    Bankruptcy & Assignment Unit,     345 Adams Street, 10th Floor,
               Brooklyn, NY 11201-3719
 smg       +Office of the Sheriff,    111 Grove Street,    White Plains, NY 10601-2509
 smg       +Parking Violations Bureau,    210 Joralemon Avenue,    Brooklyn, NY 11201-3745
 smg       +United States Attorney,    100 Church Street,    New York, NY 10007-2636
 smg        Westchester County Dept. Of Public Safety,     CIVIL BUREAU,    110 Grove Street, Room L217,
               White Plains, NY 10601
 ust       +United States Trustee,    33 Whitehall Street,    21st Floor,    New York, NY 10004-2122
 3544177   +Chase Na,   4915 Independence Parkway,     Tampa, FL 33634-7518
 3544178   +Citibank,   Po Box 6500,    Sioux Falls, SD 57117-6500
 3544179   +Dell Financial Svcs,    12234 N Ih 35 Sb Bldg B,    Austin, TX 78753-1705
 3544181   +First Usa Bank Na,    1001 Jefferson Plaza,    Wilmington, DE 19801-1493
 3544182   +Ual Travel/hsb,    Po Box 9102,   Gray, TN 37615-9102
 The following entities were served by electronic transmission on Jul 27, 2004 and receipt of the transmission
 was confirmed on:
 smg        E-mail: bankruptcynotices@tax.state.ny.us Jul 27 2004 23:13:32      New York State Tax Commission,
               Bankruptcy/Special Procedures Section,   P.O. Box 5300,   Albany, NY 12205-0300
 3544175   +EDI: BANKAMER.COM Jul 27 2004 23:04:00     Bank Of America,    1825 E Buckeye Rd,
               Phoenix, AZ 85034-4216
 3544176   +Fax: 516-745-4515 Jul 27 2004 23:28:50     Chase Manhattan Bank,    4915 Independence Parkway,
               Tampa, FL 33634-7540
 3544178   +EDI: CITICORP.COM Jul 27 2004 23:03:00     Citibank,   Po Box 6500,    Sioux Falls, SD 57117-6500
 3544180   +EDI: FIRSTUSA.COM Jul 27 2004 23:04:00     First Usa Bank,   2500 Westfield Rd,
               Elgin, IL 60123-7836
                                                                                              TOTAL: 5
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 3544174       Jackson, Carol
                                                                                                                    TOTALS: 1, * 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 29, 2004                                      Signature:
